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 6
                                UNITED STATES DISTRICT COURT
 7                                   DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                         Case No. 2:06-cr-085-JCM-GWF-5

 9                 Plaintiff,                          Motion to Dismiss the Fourth
                                                       Superseding Indictment as to
10         v.                                          Defendant Leta Remus

11   LETA REMUS,

12                 Defendant.

13

14          On March 14, 2006, a federal grand jury returned an Indictment charging defendant

15   Leta Remus, among others, with various offenses related to alleged credit card fraud. (ECF

16   1.) The same day, the Court issued an arrest warrant for defendant Remus. (ECF 12.) A

17   week later, on March 21, 2006, that federal grand jury returned a superseding indictment

18   (ECF 21) and, that same day, the Court issued another arrest warrant for Remus (ECF 31).

19   More than 16 years later, those warrant remains outstanding. Since the issuance of those

20   warrants, a federal grand jury has superseded the Indictment in this case three more times

21   (ECF 117, 174, 254).

22          Pursuant to Federal Rule of Criminal Procedure 48(a), the Government now

23   requests permission of the Court to dismiss without prejudice the Fourth Superseding

24   Indictment as to defendant Remus. If granted, because the defendant would no longer face
          Case 2:06-cr-00085-JCM-GWF Document 562 Filed 12/02/22 Page 2 of 3




1    any charges in this case, the Government further requests that the Court quash the

2    outstanding warrants for his arrest.

3           Respectfully submitted this 16th day of November, 2022.

4                                                     JASON M. FRIERSON
                                                      United States Attorney
5
                                                      s/ Richard Anthony Lopez
6                                                     RICHARD ANTHONY LOPEZ
                                                      Assistant United States Attorney
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1                      UNITED STATES DISTRICT COURT
2                           DISTRICT OF NEVADA

3    UNITED STATES OF AMERICA,                         Case No. 2:06-cr-085-JCM-GWF-5

4                  Plaintiff,                                     Order Granting
                                                       Motion to Dismiss the Fourth
5          v.                                          Superseding Indictment as to
                                                       Defendant Leta Remus
6    LETA REMUS,

7                  Defendant.

8

9           Pursuant to Federal Rule of Criminal Procedure 48(a), and upon leave of Court, the

10   United States hereby dismisses without prejudice the Fourth Superseding Indictment against

11   Defendant Leta Remus.

12                                                     JASON M. FRIERSON
                                                       United States Attorney
13
                                                       s/Richard Anthony Lopez
14                                                     RICHARD ANTHONY LOPEZ
                                                       Assistant United States Attorney
15

16          Leave of Court is granted for the filing of the above dismissal. Because the

17   Indictment has been dismissed as to Defendant Leta Remus, it is hereby ordered that the

18   warrants for his arrest issued on March 14, 2006, and March 21, 2006, in this case are

19   quashed.

20          DATED December 2, 2022.

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                                              HONORABLE JAMES C. MAHAN
23                                           UNITED STATES DISTRICT JUDGE

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